8:92-cr-00014-RFR-MDN   Doc # 1081    Filed: 01/02/08   Page 1 of 1 - Page ID # 764



           IN THE UNITED STATES DISTRICT COURT FOR THE

                        DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                    8:92CR14
                              )
          v.                  )
                              )
CHRISTOPHER SCOTT,            )             ORDER AND JUDGMENT
                              )
               Defendant.     )
______________________________)


           Pursuant to the memorandum opinion entered herein this

date,

           IT IS ORDERED that defendant’s motion for modification

of sentence pursuant to 18 U.S.C. § 3582(c)(2) is denied.

           DATED this 2nd day of January, 2008.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     _________________________________
                                        LYLE E. STROM, Senior Judge
                                        United States District Court
